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                            8                              UNITED STATES DISTRICT COURT
                            9            CENTRAL DISTRICT OF CALIFORNIA – EASTERN DIVISION
                           10
                           11 JEFF SILVERMAN,                                      Case No.: EDCV 20-1704-GW-SPx
                           12                     Plaintiff,                       ORDER RE JOINT STIPULATION
2 PARK PLAZA, SUITE 1250
IRVINE, CALIFORNIA 92614




                                                                                   TO REMAND MATTER TO STATE
                           13            v.                                        COURT
      KLINEDINST PC




                           14 CORE & MAIN, LP and DOES 1 TO
                              50,
                           15
                                      Defendants.
                           16
                           17            Based upon the Parties' Stipulation, and good cause appearing therefore, the
                           18 Court orders as follows:
                           19            1.       The Joint Stipulation to Remand Matter to State Court is hereby
                           20 GRANTED.
                           21            2.       Each party shall bear his/its own costs and fees with respect to the
                           22 removal and subsequent remand of the action pursuant to this Stipulation.
                           23                     IT IS SO ORDERED.
                           24
                           25 DATED: October 19, 2020                       _______________________________
                                                                            HON. GEORGE H. WU,
                           26
                                                                            UNITED STATES DISTRICT JUDGE
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                                18844707.1
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                                             [PROPOSED] ORDER RE JOINT STIPULATION TO REMAND MATTER TO STATE COURT
